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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 UNITED STATES OF AMERICA

 v.                                              No. 4:22-CR-213-P

 DAVID DEVANEY, JR. (02)

                                     NOTICE OF APPEARANCE

        I, Brian D. Poe, hereby enter my appearance as an attorney of record in this

matter. I am lead counsel in the state matter associated with this case, and I will be

assisting CJA attorney Matt Smid with this matter on a pro bono basis. I request that I be

notified of any and all settings in the above styled case, and receive all filings made in

this matter.

                                                  Respectfully submitted,

                                                  /s/ Brian D. Poe
                                                  BRIAN D. POE
                                                  Texas Bar No. 24056908
                                                  The Bryce Building
                                                  909 Throckmorton Street
                                                  Fort Worth, Texas 76102
                                                  Telephone: 817-870-2022
                                                  Facsimile: 817-977-6501
                                                  Email:        bpoe@bpoelaw.com




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                                     CERTIFICATE OF SERVICE

        I certify that on August 8, 2022, I electronically filed the foregoing document with
the Clerk of the Court for the United States District Court, Northern District of Texas,
using the electronic case filing system of the Court. The electronic case filing system
sent a “Notice of Electronic Filing” to all attorneys who have consented in writing to
accept this Notice as service of this document.

                                                  /s/ Brian D. Poe
                                                  BRIAN D. POE




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